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                 IN T       ITED STATES DISTRICT COURT
                        =_dTERN DISTRICT OF PENNSYLVANIA




JUSTIN FREID

           v.                                 NO.      11-cv-2S7

NCO FINANCIAL SYSTEMS 1 INC.

                                                          FILED
                                                      MAY - 3 2011
                                JUDGMENT            MICHAEL E. KUNZ, Clerk
                                                    By_       _ Oep. Clerk

BEFORE BAYLSON 1 J.

          AND NOW to witl this 3rd day of May 2011
                   1                                      1         1

it is ORDERED that in accordance with the Acceptance of Offer and
entry of Judgment filed by Plaintiff l Judgment is entered in favor
of the Plaintiff and against Defendant in the sum of $1 / 000.00
including reasonable costs and attorney's fees accrued.

                                     BY THE COURT:




                                    ATTEST:




                                     Deputy Clerk




judg
